ILND 450 (Rev. Case:    1:19-cv-06156
               10/13) Judgment in a Civil Action Document   #: 76 Filed: 03/30/21 Page 1 of 1 PageID #:1813

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

    Daniel Carcillo et al,

    Plaintiff(s),
                                                                    Case No. 19 CV 6156
    v.                                                              Judge John Robert Blakey

    National Hockey League et al,

    Defendant(s).

                                               JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                             which      includes       pre–judgment interest.
                                        does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).

                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).

               other: This Court grants Defendants' motion for judgment on the pleadings [48]. Section 301 of
the LMRA completely preempts portions of Plaintiffs' state-law claims, and those claims which automatically
convert into federal claims arising under the LMRA are dismissed without prejudice as premature. Additionally,
this Court declines to exercise supplemental jurisdiction over the remaining portions of Plaintiffs' state-law
claims. Civil case terminated.

This action was (check one):

         tried by a jury with Judge     presiding, and the jury has rendered a verdict.
         tried by Judge     without a jury and the above decision was reached.
         decided by Judge John Robert Blakey on a motion.



Date: 3/30/2021                                                 Thomas G. Bruton, Clerk of Court

                                                                G. Lewis, Deputy Clerk
